                                                                                             Case 2:21-cv-06291-FLA-JC Document 19 Filed 10/20/21 Page 1 of 3 Page ID #:291




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                             15303 VENTURA BOULEVARD - SUITE 1450 | SHERMAN OAKS, CA 91403




                                                                                             10                         UNITED STATES DISTRICT COURT
                                                                                             11                        CENTRAL DISTRICT OF CALIFORNIA
THE HOMAMPOUR LAW FIRM, PC
                                         PHONE (323) 658-8077 | FAX (323) 658-8477




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                                                                                             13 JENNIFER          A.    BANDLOW,         an )   CASE NO: 2:21-cv-06291-FLA-JCx
                                                                                                  individual;                               )
                                                                                             14                                             )   ORDER GRANTING MODIFIED
                                                                                                              Plaintiff,                    )   VERSION OF STIPULATED
                                                                                             15                                             )   PROTECTIVE ORDER
                                                                                                  vs.                                       )
                                                                                             16                                             )   Trial Date: None
                                                                                                  NET HEALTH SHOPS, LLC, dba )
                                                                                             17   SUNNYDAZE DECOR and dba )
                                                                                                  SERENITY HEALTH & HOME )                      Complaint Filed on February 8, 2021
                                                                                             18   DECOR; AMAZON.COM, INC., a )                  Case Assigned to Judge Aenlle-Rocha,
                                                                                                  Delaware corporation; SRMX CAPITAL, )                    Courtroom 6B
                                                                                             19   LLC, a Florida limited liability company; )
                                                                                                  BLUWORLD OF WATER, LLC, a )
                                                                                             20   Florida limited liability company; and )
                                                                                                  DOES 1 through 50, inclusive,             )
                                                                                             21                                             )
                                                                                                              Defendants.                   )
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                                                                                              1                                          ORDER
                                                                                              2         FOR GOOD CAUSE SHOWN, the parties’ Stipulated Protective Order is
                                                                                              3 adopted with the following modifications:
                                                                                              4         1. Paragraph 3 is modified to read as follows:
                                                                                              5         The protections conferred by this Stipulation and Order cover not only
                                                                                              6 Protected Material (as defined above), but also (1) any information copied or
                                                                                              7 extracted from Protected Material; (2) all copies, excerpts, summaries, or
                                                                                              8 compilations of Protected Material; and (3) any deposition testimony, conversations,
                                                                                              9 or presentations by Parties or their Counsel that might reveal Protected Material,
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                                                                                             10 other than during a court hearing or at trial. Any use of Protected Material during a
                                                                                             11 court hearing or at trial shall be governed by the orders of the presiding judge. This
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                                                                                             12 Order does not govern the use of Protected Material during a court hearing or at trial.
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                                                                                             13         2. Paragraph 7.2(h) is modified to replace the reference to “Exhibit 1” with a
                                                                                             14 reference to “Exhibit A.”
                                                                                             15         3. Paragraph 8(c) is modified to read as follows:
                                                                                             16         (c) cooperate with respect to all reasonable procedures sought to be pursued by
                                                                                             17 the Designating Party whose Protected Material may be affected. If the Designating
                                                                                             18 Party timely seeks a protective order, the Party served with the subpoena shall not
                                                                                             19 produce any information designated in this action as “CONFIDENTIAL” before a
                                                                                             20 determination by the court from which the subpoena issued unless the Party has
                                                                                             21 obtained the Designating Party’s permission or unless otherwise required by the law
                                                                                             22 or court order. The Designating Party shall bear the burden and expense of seeking
                                                                                             23 protection of its confidential material and nothing in these provisions should be
                                                                                             24 construed as authorizing or encouraging a Receiving Party in this Action to disobey a
                                                                                             25 lawful directive from another court.
                                                                                             26         4. Paragraph 9(c) is modified to read as follows:
                                                                                             27         (c) If the Non-Party fails to seek a protective order within 14 days of receiving
                                                                                             28 the notice and accompanying information and to provide the Receiving Party with a

                                                                                                  Order Stipulated Protective Order – Page 2
                                                                                             Case 2:21-cv-06291-FLA-JC Document 19 Filed 10/20/21 Page 3 of 3 Page ID #:293




                                                                                              1 copy of the court pleading seeking a protective order within the same time frame, the
                                                                                              2 Receiving Party may produce the Non-Party’s confidential information responsive to
                                                                                              3 the discovery request. If the Non-Party timely seeks a protective order, the Receiving
                                                                                              4 Party shall not produce any information in its possession or control that is subject to
                                                                                              5 the confidentiality agreement with the Non-Party before a determination by the court
                                                                                              6 unless otherwise required by the law or court order. Absent a court order to the
                                                                                              7 contrary, the Non-Party shall bear the burden and expense of seeking protection of its
                                                                                              8 Protected Material.
                                                                                              9         IT IS SO ORDERED.
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                                                                                             10 DATED: October 20, 2021
                                                                                             11                                    _________________/s/_______________________
                                                                                                                                   Honorable Jacqueline Chooljian
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                                                                                                                                   UNITED STATES MAGISTRATE JUDGE
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